        Case 3:21-md-02981-JD Document 576-1 Filed 08/10/23 Page 1 of 4



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11
                               UNITED STATES DISTRICT COURT
12
                             NORTHERN DISTRICT OF CALIFORNIA
13

14
   IN RE GOOGLE PLAY STORE ANTITRUST Case No. 3:21-md-02981-JD
15 LITIGATION
                                          DECLARATION OF KARMA M.
16 THIS  DOCUMENT       RELATES    TO:    GIULIANELLI IN SUPPORT OF
                                          STIPULATED [PROPOSED] ORDER
17 In re Google  Play Consumer  Antitrust SHORTENING TIME TO BE HEARD FOR
   Litigation, Case No. 3:20-cv-05761-JD  MOTION TO AUTHORIZE NOTICE OF
18                                        PENDENCY TO THE CONSUMER
                                          PLAINTIFF CLASS
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                                          Judge: Hon. James Donato
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     DECLARATION OF KARMA M. GIULIANELLI ISO STIPULATED [PROPOSED] ORDER SHORTENING TIME
                  TO BE HEARD FOR MOTION TO AUTHORIZE NOTICE OF PENDENCY
                            Case Nos. 3:21-md-02981-JD, 3:20-cv-05761-JD
        Case 3:21-md-02981-JD Document 576-1 Filed 08/10/23 Page 2 of 4



 1          I, Karma M. Giulianelli, declare as follows:

 2          1.     I am an attorney duly admitted to practice in the States of Colorado and California

 3 and before this Court. I am a partner of the law firm of Bartlit Beck LLP and one of the two

 4 appointed Co-Lead Class Counsel for the certified Class of Consumer Plaintiffs in this action. I

 5 submit this declaration in support of the parties’ Stipulated [Proposed] Order Shortening Time to

 6 Be Heard For Motion To Authorize Notice of Pendency to the Consumer Plaintiff Class. The

 7 contents of this declaration are based on my personal knowledge, including my personal knowledge

 8 of the documents described herein. The facts set forth herein are within my personal knowledge

 9 and if called as a witness, I could and would competently testify to them.

10          2.     Consumer Plaintiffs seek an order shortening time on Consumer Plaintiffs’ Motion

11 to Authorize Notice of Pendency to the Consumer Plaintiff Class (the “Motion”). Consumer

12 Plaintiffs seek a shortening of time from 35 to 28 days so that the matter may be heard on

13 September 7, 2023, the date when the Court has scheduled the hearing on several related motions

14 and other trial preparation matters.

15          3.     Hearing the Motion on September 7 will enable the Court to consider the motion

16 alongside other related motions and issues, including the State Plaintiffs’ previously filed Motion

17 for Approval of Notice of Pendency and Opportunity to Opt Out, ECF No. 546, which is set for

18 argument on September 7, 2023, as well as the other pretrial conference matters set for that date,

19 ECF No. 571.

20          4.     Preparation of the Motion after the August 3 summary judgment hearing required

21 drafting the relevant papers and securing the services of A.B. Data, a notice administrator. On

22 August 9, 2023, Class Counsel reached out to counsel for Google to request Google’s position on

23 shortening time to be heard on the Motion. Google counsel indicated that Google takes no position

24 on whether the Motion should be heard on September 7, 2023, but agreed to stipulate to the Motion

25 being heard on September 7, on the conditions that (1) the schedule did not shorten the time

26 normally available for Google to respond to the Motion, (2) Consumer Plaintiffs filed their motion

27 on August 10, and (3) Consumer Plaintiffs clearly stated that Google has not seen the Motion and

28 reserves the right to respond.
                                                     1
     DECLARATION OF KARMA M. GIULIANELLI ISO STIPULATED [PROPOSED] ORDER SHORTENING TIME
                  TO BE HEARD FOR MOTION TO AUTHORIZE NOTICE OF PENDENCY
                            Case Nos. 3:21-md-02981-JD, 3:20-cv-05761-JD
        Case 3:21-md-02981-JD Document 576-1 Filed 08/10/23 Page 3 of 4



 1         5.      The parties have negotiated and the Court has ordered several modifications to the

 2 operative Rule 16 Scheduling Order in this case. Consumer Plaintiffs have not previously

 3 submitted the Motion, however, so there have been no time modifications with respect to that

 4 motion.

 5         6.      The requested shortening of time would not affect any other deadline in the case.

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 7         I declare under penalty of perjury under the laws of the United States of America that the

 8 foregoing is true and correct.

 9         Executed this 10th day of August 2023 in Denver, Colorado.

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11                                              BARTLIT BECK LLP

12                                              By: /s/ Karma M. Giulianelli
13                                                  Karma M. Giulianelli
                                                    Co-Lead Counsel for Consumer Plaintiffs
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     DECLARATION OF KARMA M. GIULIANELLI ISO STIPULATED [PROPOSED] ORDER SHORTENING TIME
                  TO BE HEARD FOR MOTION TO AUTHORIZE NOTICE OF PENDENCY
                            Case Nos. 3:21-md-02981-JD, 3:20-cv-05761-JD
        Case 3:21-md-02981-JD Document 576-1 Filed 08/10/23 Page 4 of 4



 1                                     E-FILING ATTESTATION

 2         I, Karma M. Giulianelli, am the ECF User whose ID and password are being used to file

 3 this document. In compliance with Civil Local Rule 5-1(h)(3), I hereby attest that each of the

 4 signatories identified above has concurred in this filing.

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 7                                                              /s/ Karma M. Giulianelli
                                                                Karma M. Giulianelli
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     DECLARATION OF KARMA M. GIULIANELLI ISO STIPULATED [PROPOSED] ORDER SHORTENING TIME
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